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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                         MDL NO. 2924
   PRODUCTS LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                 PRETRIAL ORDER # 27_
                        Order Regarding Deadline for Filing Notice of
                  Appearance and Election to Participate in the Census Registry

          In Pretrial Order No. 1, this Court granted an extension of time for each defendant to

   respond to the complaint(s) served on them and stayed discovery until further orders of this Court,

   in order to permit the Court and parties time to create an efficient mechanism for advancing this

   litigation. The litigation has now advanced sufficiently that the Court soon will be entering

   scheduling orders related to motion practice and discovery. To facilitate communications with all

   defendants as the litigation progresses into this new phase, it is important that Notices of

   Appearance be entered.

          In addition, in Pretrial Order No. 15, the Court created a Census Registry at the parties’

   joint recommendation in recognition of the benefits that it provided to both plaintiffs and

   defendants. The Court continues to support the use of the Census Registry in response to the

   unique challenges this MDL presents, but the Court recognizes that it is a creature of party consent.

   As such, this Order also ensures a process for appropriately informing any newly-added defendants

   of the rationale for PTO # 15.
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            The Court, mindful of the 21-day window set by the Federal Rules of Civil Procedure for

   defendants to respond to a served complaint, issues this order to (1) set a deadline for defendants

   to file Notices of Appearance, and (2) consent or object to the Census Registry provisions in PTO

   # 15.

            I.     DEADLINE TO FILE NOTICES OF APPEARANCE

            Any defendant named in an action in this MDL (whether directly filed or

   removed/transferred) is hereby ordered to appear through counsel within the greater of 7 days from

   the entry of this Order or 21 days from the date of service of the complaint on that defendant,

   whichever is later. A defendant should not file a duplicative Notice of Appearance in the master

   MDL docket for subsequent complaints.

            The filing of a Notice of Appearance of counsel is not and will not be deemed a waiver of

   any arguments or defenses, including regarding personal jurisdiction and/or any rights under Fed.

   R. Civ. P. 12. Rather, the Notice of Appearance is necessary for the Court and counsel to know to

   whom to direct communications about the MDL.

            II.    PRETRIAL ORDER # 15

            On April 2, 2020, this Court entered PTO # 15, which set forth a census program, which

   allowed claimants with unfiled claims to enter a Census Registry while motion practice proceeded

   in the MDL, in exchange for a temporary tolling of the statute of limitations. This PTO was entered

   upon recommendation of counsel, following extensive negotiations by skilled counsel on both

   sides.

            By its terms, PTO # 15 bound all defendants in any action that had been directly filed in or

   transferred (whether by transfer, removal or otherwise) to the MDL as of April 2, 2020. Since that
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   time, additional defendants have been named in complaints filed in or transferred to the MDL, and

   it is anticipated that more defendants will continue to enter the litigation from time to time.

          Such newly-added defendants, or their counsel of record, are strongly encouraged to

   contact any of the following individuals for information about PTO # 15:

          Special Master:

                  Jaime Dodge
                  JDodge@emory.edu

          Co-Lead Counsel and Coordinating Counsel for Defendants:

                  Joseph Petrosinelli
                  WILLIAMS & CONNOLLY
                  (202) 434-5547
                  JPetrosinelli@wc.com

          Liaison Counsel for Generic Manufacturers:

                  Richard Barnes
                  GOODELL, DEVRIES
                  (410) 783-4004
                  Rmb@gdldlaw.com

                  Thomas Yoo
                  HOLLAND & KNIGHT
                  (213) 896-2425
                  Thomas.Yoo@hklaw.com

           Liaison Counsel for Retailers:

                  Sarah Johnston
                  BARNES & THORNBURG
                  (310) 284-3798
                  Sarah.Johnston@btlaw.com

          For any defendant added to the MDL after the entry of PTO # 15, within the greater of

   seven (7) days of the entry of this Order or 21 days of the date of the service of a complaint filed

   in or transferred to this MDL, the defendant’s counsel (or the defendant’s responsible person, if

   acting pro se), shall notify its designated Liaison Counsel and the Coordinating Counsel of its
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   willingness to be bound by the registry provisions in PTO # 15; all defendants remain bound by

   all other terms in PTO # 15 and all other PTOs entered in this MDL. If a defendant agrees to be

   bound by the Census Registry provisions of PTO # 15, counsel shall send a letter via email to the

   Coordinating Counsel and Special Master, indicating that the defendant has so agreed. If a

   defendant fails or elects not to notify designated Liaison or Coordinating Counsel of any objection

   to the applicability of the Census Registry provisions of PTO # 15 to that defendant within the

   applicable timeframe, then the terms of PTO # 15, including the statute of limitations tolling

   provision of paragraph 5 on page 11 of PTO # 15, will be fully applicable to that defendant absent

   good cause shown and an immediate and timely assertion of such objection. If a defendant objects

   to being bound by the Census Registry provisions of PTO # 15, the defendant or its counsel shall

   meet and confer with Coordinating Counsel and the Special Master in an attempt to resolve such

   objection.

           Plaintiffs’ Co-Lead Counsel are directed to make best efforts to ensure that new complaints

   filed after June 2, 2020, contain a copy of this Order and the cover letter attached as Exhibit A to

   this Order. If Plaintiffs’ Co-Lead Counsel or Liaison Counsel for the Retailers/Generics become

   aware that a new defendant in the MDL did not receive a copy of this Order and Exhibit A, they

   shall provide such copy immediately.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 3rd day of June,

   2020.



                                                    _______________________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
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                                              EXHIBIT A

   You have been named in a legal action for which there is a Multi-District Litigation, or “MDL,” a
   federal court proceeding in which multiple actions concerning common legal allegations are
   coordinated for pretrial proceedings. The MDL Petition was filed in late 2019, the MDL was
   created in early 2020, and the MDL proceedings have been underway since that time.

   The Federal District Judge overseeing that MDL proceeding has appointed liaison counsel for all
   Retailer/Pharmacy Defendants and Generic/Private Label Manufacturing Defendants in the MDL,
   as well as a Defense Coordinating Counsel.

   Because there are deadlines implicated by several pre-trial orders already entered so far in the
   MDL (including PTO # 15 and PTO # 27, it is incumbent upon you to contact the dedicated Liaison
   Counsel or Coordinating Counsel, so that such Counsel can answer questions related to the MDL
   proceedings.

   The appointed Liaison Counsel for Retailer/Pharmacy Defendants and Generic Manufacturer
   Defendants are as follows:

          Liaison Counsel for Generic Manufacturers:
                 Richard Barnes                                  Thomas Yoo
                 GOODELL, DEVRIES                                HOLLAND & KNIGHT
                 (410) 783-4004                                  (213) 896-2425
                 Rmb@gdldlaw.com                                 Thomas.Yoo@hklaw.com

          Liaison Counsel for Retailers:
                 Sarah Johnston
                 BARNES & THORNBURG
                 (310) 284-3798
                 Sarah.Johnston@btlaw.com

          The Defense Coordinating Counsel and Co-Lead Counsel is:
                Joseph Petrosinelli
                Williams & Connolly LLP
                (202) 434-5547
                jpetrosinelli@wc.com

   The Court has stayed certain requirements in the case pursuant to PTO # 1 and other orders.
   However, the Court has required that you file a Notice of Appearance within 21 days, in lieu of
   filing an answer or motion to dismiss. In addition, you should contact either the Defense
   Coordinating Counsel or your designated Liaison Counsel within 21 days to discuss PTO # 15, as
   described in the attached PTO # 27.

   The Liaison and Coordinating Counsel will be helpful resources in bringing you up to speed on
   the status of the litigation and your obligations – but it is very important that you contact them as
   soon as possible to ensure you do not miss any deadlines that apply to your case.
